                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW MEXICO

     In re:

     MBF INSPECTION SERVICES INC.,

        Debtor.                                         Case No. 18-11579-11

                                                Chapter 11


                  DEBTOR'S FIRST AMENDED EMERGENCY FIRST MOTION
                            FOR USE OF CASH COLLATERAL

              The Debtor in Possession, MBF Inspection Services Inc. (the "Debtor"), pursuant to

     Bankruptcy Code §§363(c) and 521(a) and Bankruptcy Rule 4001(b), files this Motion for

     Use of Cash Collateral (the "Motion"), served June 22, 2018, seeking authority to use cash

     collateral beginning on the date of entry of this Order through six (6) months (the

     "Cash Collateral Period"). In support of this Motion, the Debtor states:

Immediate and Irrearable Harm to the Estate without Use of Cash Collateral.

    The Debtor requires the use of cash collateral to continue the operation of its business. Use of

cash collateral is necessary, among other things, to pay for labor, utilities, equipment repairs,

insurance, fuel, other expenses incurred in the ordinary course of the Debtor's business and


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professional fees and expenses incurred in connection with this bankruptcy case. Without

authority to use cash collateral, the Debtor will be unable to make payroll, carry on its jobs, or

administer this bankruptcy case.

         1.         The   debtor’s   total   assets        and   liabilities   are   as   follows:   total

assets_$9,237,384.00. Total liabilities_$3,683,433.00 (approximate). The cash collateral assets

include pledged cash, and deposits to Inspection Leasing Inc., resulting from the use of cash

collateral assets shortly before the filing of the petition in the regular course of business in the

amount_$1,621.813.70 (approximate) cash and deposit. Together with other assets described as

follows: receivables valued at $4,276,861.00 (approximate).

         2.        Inspection Leasing Inc. holds a lien on cash collateral mainly receivables. The

debtor is in regular contact with them and the lenders counsel and the debtor and the lender have

tactfully worked out the cash collateral agreement.

         3.        On June 22, 2018, Debtor commenced this bankruptcy case by filing a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code. Pursuant to

Bankruptcy Code §§ 1107(a) and 1108, Debtor has retained possession of its assets and is

operating its business.

          4.          No Committee. No creditors' committee has been appointed.

          5.          Nature of the Debtor's Business. The Debtor's business consists of:

                     (a), pipeline inspection business.

                             (1)     As of June 22, 2018, the Debtor's cash collateral assets

    are approximately receivables, cash and deposits. (ii). The Debtor estimates the value

    of the receivables, cash, and deposits to be approximately$6,414,501.70 prior to any

    collections.



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    (2)    Creditors Holding or Claiming Liens Against Cash Collateral, and Efforts Contact

    Such Creditors Regarding Use of Cash Collateral – Inspection Leasing Inc. contacted

    affiliated creditor and their attorney, believed to be Louis Puccini (debt $2,970,385.00).

    Bank of the Southwest contacted President Mr. Bertram, attorney James Roggow - no funds

    drawn; the Valley Bank of Commerce secured by CD only contacted President, Mr. Cody

    Burson (debt $250,000.00 plus interest).



          6. Debtor’s Authority to Use Cash Collateral

                   (a)     The Debtor's good faith best estimate of its monthly revenues

    and expenses for the Cash Collateral Period by average month is set out in the budget

    attached as Exhibit A. To operate its business and administer the bankruptcy case,

    Debtor requests authority to use cash collateral during the Cash Collateral Period in

    accordance with the Budget and the order resulting from this Motion.

                   (b)     Debtor requests that the order resulting from this Motion

    authorize Debtor to use cash collateral, as follows:

                                     For the actual and necessary post-petition business and

    administrative expenses of the Debtor as set forth in the Cash Collateral Budget, but

    (except as provided below) not to exceed 15% more than the amount in each line item

    of the Budget for that period:

                          (2) In addition to the amounts set forth in the Budget:

                                     (i)    To make any utility deposits and adequate

    protection payments ordered by the Court pursuant to Bankruptcy Code § 366;




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                                   (ii)   For the payment of the statutorily required fees of

    the United States Trustee's Office accruing during the Cash Collateral Period and other

    allowed administrative expenses;

                                   (iv)   To pay for necessary repairs and equipment

    replacements, as needed, in an amount up to $5,000 per month in addition to the amounts

    set forth in the Budget;

                                   (v)    To pay the actual amount of utility charges, and

                                   (vi)   For such other expenses as approved in writing (e-

    mail approval by its counsel to be sufficient by Inspection Leasing Inc.) or as authorized

    by further order of the Court after notice, any Committee, and the United States Trustee.

           Notwithstanding the above, the Debtor shall not pay compensation or any other

    payments to any "insider" or "affiliate" (as those terms are defined in the Bankruptcy

    Code), nor to any former stockholder, except (a) for its monthly draw, salaries, or contract

    payments shown on the budget I and J, (b) other payment of expenses ordinarily paid,

    including the Debtor paying for telephone bills, and vehicles for use by the Debtor; (c)

    normal payroll expenses for work performed; (d) to reimburse ordinary out-of-pocket

    employee expenses; and (e) to fund ordinary employee benefits included in the Budget.

           If Debtor requires the use for cash collateral in addition to the amounts

    authorized under paragraph 6(b), the Debtor must give written notice of the same to

    counsel of record for Inspection Leasing Inc., being sufficient, prior to making the

    expenditures. If counsel consents or fails to object within three (3) business days after

    receipt of such notice (i.e., excluding weekends and legal holidays), the Debtor may use

    cash collateral as proposed to pay for such excess amount. If he objects in writing



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    within such three (3) business day period (e-mail notice to Debtor's counsel being

    sufficient), the Debtor may request a hearing on the use of additional cash collateral for

    such purposes on short notice limited to counsel for Inspection Leasing Inc., the U.S.

    Trustee and any Committee; provided, however, if the Debtor believe in good faith

    that the expenditure needs to be made prior to the expiration of such 3-day period to

    prevent damage to their operations, the Debtor may request an emergency hearing

    before such 3-day period expires, and may make such emergency expenditures if an

    emergency hearing cannot be timely obtained so long as Inspection Leasing Inc.is

    given notice of the expenditures within five (5) business days after the expenditures are

    made.

               (c) If any expenses are budgeted to be incurred or paid by the Debtor in a particular

    month but are not incurred or are incurred but not paid in that month, the Debtor may carry

    over the budget amounts for such expenses into future months, so long as the aggregate

    amount paid does not exceed the aggregate amount set forth in the Budget for the Cash

    Collateral Period (and any prior cash collateral periods) or such other amounts that are

    authorized to be spent under any prior cash collateral orders or the order resulting from this

    Motion.


               7.     Adequate Protection for Cash Collateral Creditors.

         (i)        In adequate protection: the proceeds of the cash collateral shall be deposited in

debtor’s DIP account at the Bank of the Southwest. Debtor Shall use funds, first to reduce the

balance on Debtors’ cash collateral line of credit to Inspection Leasing Inc. and second, to be

spent and applied in accordance with the terms of the cash collateral order and budget set forth in

this cash collateral motion and any order. Debtor then may withdraw upon that line of credit as


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established. Debtor shall pay on the line of credit in accordance with the terms set forth in

the applicable promissory notes.

       (i) Inspection Leasing Inc., shall continue to have a security interest,

       (ii) Inspection Leasing Inc., shall have a lien (the replacement lien against collateral.

       (iii) Inspection Leasing Inc., shall continue to have a security interest in all assets in

which such creditor had a lien or security interest as of the Petition Date (the "Pre-Petition

Collateral"), which shall be subject to the same defenses and avoidance powers (if any), as

existed with respect to the Pre-Petition Collateral on the Petition Date.


       (iv)       Inspection Leasing Inc., shall have a lien (the "Replacement Lien") against

       property of the same type as the Pre-Petition Collateral acquired by the Debtor post-

       petition, which shall be subject to the same defenses and avoidance powers (if any),

       as existed with respect to the Pre-Petition Collateral on the Petition Date; except the

       amount of the Replacement Lien is limited to (a) the difference between (x) the value

       of the interest in Pre-Petition Collateral plus natural additives, accounting and

       replacements as of the Petition Date in which Inspection Leasing Inc, .had a

       perfected lien and (y) the value to the Pre-Petition Collateral plus natural additives,

       accounting and replacements as of the date in the amount the Replacement Lien is

       determined, less (b) the amount by which the principal amount of the indebtedness

       owing by Debtor to Inspection Leasing Inc.is reduced during the Cash Collateral

       Period and plus the amount by which the principal amount of the indebtedness owing

       by Debtor to Inspection Leasing Inc.is increased during the Cash Collateral Period.




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         (v)      Unless the Court orders otherwise, all disbursements from the Debtor in

         Possession account will be disbursed by a check signed by the Debtor, or transferred

         by other means (such as a wire transfer) approved by the Debtor.


                    (b) Reporting by the Debtor. The Debtor shall maintain records of

    operating revenues and expenditures. The Debtor shall provide Inspection Leasing Inc.,

    with the following reports:


                              (1) By the 15th of each month a budget variance report


    comparing actual revenues and expenses on the Cash Collateral Budget as of the last day of

    the preceding month;


                  (c)     Use of Cash Collateral. The Debtor will use cash collateral only for ordinary

         operating expenses associated with the Debtor's business in accordance with the Cash

         Collateral Budget and for the additional expenses permitted by a cash collateral

         order.


                   (d) Payment of Taxes. The Debtor will timely pay all post-petition payroll

         and other taxes.


                   (e) Inspection. The Debtor shall give access to Inspection Leasing Inc.,

         during normal business hours on short advance notice to the Debtor and Debtor's

         counsel to inspect the Debtor's operation and assets, so long as it does not disrupt

         Debtor's business operation.


                    (f)        Insurance. The Debtor shall continue to maintain in effect general


    property and liability insurance for its business operation.

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                    (g) Other. Such other adequate protection as the Court may order.


            8.      Lien Priority; No Filing or Recording Necessary. The liens (including

    security interests) in the Post-Petition Collateral, shall be deemed valid and perfected as of

    the Petition Date, without further filing or recording under any state or federal law, to the

    same extent as such liens and interests in the Pre-Petition Collateral of the same type was

    valid and perfected as of the Petition Date (and shall be subject to the same defenses and

    avoidance powers as existed on the Petition Date with respect to the Pre-Petition

    Collateral). Liens and interests in the Post-Petition Collateral shall have the same validity

    and priority as such creditor's liens and/or interests in the Pre-Petition Collateral of the same

    type (subject to the same defenses and avoidance powers). Debtor/Creditor shall not be

    required to file financing statements or other documents in any jurisdiction or take any

    other action (including without limitation obtaining possession of any collateral) to perfect

    their liens and interests granted under or pursuant to the order resulting from this motion to

    the extent such liens and interests in the Pre-Petition Collateral of the same type was valid

    and perfected as of the Petition Date. The validity of such perfection shall not be affected

    by any (a) conversion of this case to chapter 7; (b) appointment of a trustee under chapter

    7 or chapter 11; or (c) dismissal of this bankruptcy case.


            9.       Events of Default. Each of the following events would constitute an "Event


    of Default":


                            (a)     An Event of Default shall occur if the Debtor fails to comply


    in a material respect with any of the requirements of the order resulting from this motion,

    except (i) if such failure is of a type that is curable Debtor shall have five business day

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    after receipt of the written notice to cure the failure to comply before an Event of Default

    shall be deemed to occur, and (ii) the Court may excuse the noncompliance based on the

    equities after notice and opportunity for a hearing in which event an Event of Default will

    be deemed to have not occurred;

                           (b)     An Event of Default shall occur upon written notice by


     counsel for the Debtor, if the bankruptcy case is converted to a case under chapter 7 of the

    Bankruptcy Code without the consent of the Inspection Leasing Inc. Inspection Leasing

    Inc., may waive the existence of any Event of Default specified in subsection (a).


            10.     Termination of Authority to Use Cash Collateral. (i) Five (5) business

    days after the occurrence of an Event of Default that is not waived or excused as

    provided above, (ii) upon expiration of the Cash Collateral Period, or (iii) if a Chapter 11

    trustee or an examiner with substantially all of the powers of a trustee, but including in any

    event the power to operate the Debtor's business, is appointed, in either case without the

    consent of Inspection Leasing Inc., the authority to use cash collateral granted by the

    resulting Order from this motion automatically would terminate (except for payment to

    post-petition trade vendors for goods or services, such as grain, hay, repairs, parts, etc.,

    ordered or provided during the Cash Collateral Period and to make accrued payroll), without

    prejudice to the rights of the Debtor to ask for and Inspection Leasing Inc.to oppose further

    use of cash collateral, and except as provided above the Debtor thereafter shall not make

    further use of cash collateral without first obtaining a further order of the Bankruptcy Court

    or the prior written consent of Inspection Leasing Inc..




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         11.         Survival. The liens granted in favor of Inspection Leasing Inc., would

         survive the entry of any order (a) dismissing this bankruptcy case, (b) converting

         the chapter 11 case to any other chapter under the Bankruptcy Code, (c) withdrawing

         reference of the case from this Bankruptcy Court, (d) appointing a trustee or an

         examiner with expanded powers to serve in the Bankruptcy Case, or (e) suspending the

         proceedings in or otherwise abstaining from the handling of this bankruptcy case.


               12.   Non-Waiver of Rights. The order resulting from this motion would not

    constitute: (a) a preclusion against or waiver by Inspection Leasing Inc.to seek other and

    further relief in this case, including but not limited to filing a motion to dismiss, filing a

    motion to appoint a trustee, filing a motion to modify the order resulting from this

    motion or to prohibit the further use of cash collateral or the commencement of any

    adversary proceeding; (b) a waiver of any other rights, remedies or defenses available to

    Inspection Leasing Inc., or a waiver of the right to respond to or defend any motion,

    application, proposal or other action; or (c) a waiver of any rights, remedies or defenses

    that Inspection Leasing Inc., may have. Debtor does not waive any rights, remedies,

    defenses or avoidance powers available to Debtor with respect to Inspection Leasing

    Inc., claims or collateral.


               13.   Modification of the Order. The order resulting from this motion could

    not be modified in any way without an order of the Court after notice and a hearing (as

    defined in Bankruptcy Code § 102. Any modification of the order resulting from this

    motion would not limit or reduce the continuing and replacement liens granted under

    such order with respect to any cash collateral used prior to the modification of such

    order.

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            14.     Recitation of Liens and Amounts of Indebtedness. The recitation of

    liens and amounts of indebtedness set forth in this motion are the Debtor is his good

    faith estimates at this time. The Debtor reserves the right to revise these estimates.


           WHEREFORE the Debtor requests the following relief:


            A.     Authority to use cash collateral during the Cash Collateral Period, as

    requested in this Motion;


            B.     For such other and further relief as the Court deems just and proper.




                                                       Respectfully submitted,


                                                       B.L.F., LLC

                                                       s/ Electronically filed_________
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                                 CERTIFICATE OF SERVICE

        I served a true copy of the foregoing on June 22nd, 2018 by filing the original with the
Court Clerk which caused an electronic copy hereof to be served on said counsel, and, if such
electronic service was not noted on the Notice of Electronic Filing which was generated at the
time filing, then by first class mail, postage prepaid, or by fax, if a fax number is shown, or by
such other means as I specified.

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Jennie Deden Behles 

 




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MBF Inspection Services. Inc.
Budgeted/Projected Monthly Revenues, Costs, and Expenses
For the Twelve Months Ended December 31, 2018
Asof:     June 12, 2018
                                               Budgeted     Budgeted     Budgeted     Budgeted      Budgeted     Budgeted      Budgeted
                                                 June         l!!!I       August      September     October      ~ovember      ~
Revenue from operations
                                                                                                                                            c::r:




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   Sales                                       4,800,000    4,900,000    5,000,000     5,000,000    5,000,000     4,900,000    4.800,000
   Sales returns & allowances                    (51,500)     (51,500)     (53,000)      (53,000)     (53,000)      (51,500)     (51,500)
   Other o~rating income
       Total re\'cnuc from operations          4,748,500    4,848,500    4,947,000     4,947,000    4,947,000     4,848,500    4,741,500
Cost of sales
   Per diem                                    1,100,000    1,125,000    1,150,000     1,150,000    1,150,000     1,125.000    1,100.000
   Mileage                                       285,000      291,000      297,000       297,000      297,000       291,000      285,000
   Field labor                                 2,592,000    2,646,000    2,700,000     2,700,000    2,700,000     2,646,000    2,592,000
   Payroll taxes                                 220,000      225,000      230,000       230,000      230,000       225,000      220,000
   Employee benefits                              93,500       95,500       97,500        97,500       97,500        95,500       93,500
   Insurance                                      67,000       67,000       67,000        67,000       67,000        67,000       67,000
   Reimbursable expenses                         105,000      107,000      109,000       109,000      109,000       107,000      105,000
   Non-billable reimbursed expenses                  250          250          250           250          250           250          250
   Contract labor
   Dru,g testing, safe!l::, & training costs      25,000       26,000       26,500        26,500       26,500       26,000        25,000
       Total cost of sales                     4,487,750    4,582,750    4,677,250     4,677~50     4,677,250    4,582,750     4,417,750
Gross profit                                     260,750      265,750      269,750      269,750       269,750      265,750       u.t,750
Other operating costs and expenses
   Advertising                                     1,000        1,000        1,000         1,000        1,000         1,000        1,000
   Bad debt expense
   Bank charges
   Car & truck expense                             1,000        1,000        1,000        1,000         1,000        1,000         1,000
   Depreciation & amortization                        72           72           72           72            72           72            72
   Donations                                         100          100          100          100           100          100           100
   Dues & subscriptions                              300          300          300          300           300          300           300
   Employee benefits                               7,000        7,000        7,000        7,000         7,000        7,000         7,000




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   Insurance
   Interest                                       11,500       11,550       11,550       11,550        I 1,550      11,550       11,550
   Legal and professional fees                    25,000       25,000       25,000       25,000        25,000       25,000       25,000
   Meals and entertainment                           250          250          250          250            250         250          250
   Office expense                                  1,000        1,000        1,000        1,000          1,000       1,000        1.000
   Penalties
   Rent                                           20,964       20,964       20,964       20,964        20,964       20,964        20,964
   Repairs & maintenance                           1,000        1,000        1,000        1,000         1,000        1,000         1,000
   Salaries & wages                              110,000      110,000      112,500      110,000       110,000      110,000       110,000
   Supplies                                        1,000        1,000        1,000        1,000         1,000        1,000        1,000
   Taxes                                           8,500        8,500        8,500        8,500         8,500        8,500        8,500




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   Telephone                                       1,500        1,500        1,500        1,500         1,500        1,500        1,500
   Travel                                          1,000        1,000        1,000        1,000         1,000        1,000        1,000
   Utilities                                       1,000        I 000        1,000        1,000         1,000        1,000        I 000
       Total oe:erating costs and exe:enses      192,186      192,236      194,736      192,236       192,236      192,236      192,236
lncome/(loss) from operations                    68,564        73,514       75,014       77,514       77,514        73,514       61,514




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Other income and (expenses)
   Gains/(losses) from disposals of assets
   Interest income                                  100           100         100           100           100          100          100
   Dividend income
   Miscellaneous income                              25            25          25            25            25           25           25
   Rental Income                                    300           300
   Other ex nses
       Total other income and (expenses)            425           425         125           125          125           125          125
Net i_g_1;ome/{loss} before income taxes         68,289       73,939       75,139        77,639       77,639        73,639       68,639
